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UNITED sTATEs I)ISTRICT CoURT F"£D m % D'C'
WESTER`I;EI:)SI:;RRINC§I$IFS"IF§SNESSEE 05 JUH __2 nn 6: 37
H. Kevin Ingram, on behalf of Himself) %E§§§TF§:B;§:}G§?
and all others similarly situated, ) W-D- C”: TN, MEMPHIS
Plaintiff, §
vs. § Case Number: 04-2717-D
Exxon Mobil Corporation, and §
Spencer Gifts LLC, )
Defendants. ))
ORDER OF DISMISSAL

 

Based on the parties’ Joint Stipulation Of Dismissal, H. Kevz'n Ingram v. Exxon
Mobil Corpomtz'on and Spencer Gz'fts LLC, Case Number 04-2717-D, is hereby dismissed
without prejudice, each party to bear his or its own costs and attorney’s fees and

expenses

Done this 3 / dayofMayZOO§.

     

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. DISTRICT COURT JUDGE

 

 

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CV-027]7 Was distributed by faX, mail, or direct printing on
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Howard E. Jarvis

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC

900 S. Gay St.
Ste. 900
KnoX\/ille7 TN 37902--181

Shelia B. Renfroe

THE RENFROE LAW FIRM, PLLC
P.O. BOX 770095

Memphis7 TN 38177--009

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

Memphis7 TN 38103

John E. Norris

THE RENFROE LAW FIRM
P.O. BoX 770095

Memphis7 TN 38177--009

Ashley M. Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview ToWer

900 South Gay St.

KnoX\/ille7 TN 37902

D. Frank Davis

THE RENFROE LAW FIRM
P.O. BOX 770095

Memphis7 TN 38177--009

Honorable Bernice Donald
US DISTRICT COURT

